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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


Brock Fredin,                                         Case No. 17-cv-3058 (SRN/HB)

                  Plaintiff,
                                                                   ORDER
v.

Lindsey Middlecamp,

                  Defendant.



        This matter is before the Court on an email received by the Court on September 4,

2020 from Plaintiff Fredin, requesting a hearing date for a Motion to Strike. The Court

provides the following briefing schedule for this motion:

     1. Plaintiff’s motion to strike shall be filed on or before September 14, 2020.

     2. Defendant’s Response to the motion shall be filed on or before September 24, 2020.

     3. This motion will be decided on the papers filed, without oral argument.

SO ORDERED.


Dated: September 4, 2020                          s/Susan Richard Nelson
                                                  SUSAN RICHARD NELSON
                                                  United States District Judge
